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Case 8:14-CV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 1 of 10 Page|D 1

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UNI'I`ED STATES DISTRICT COURT ."____.-, w

MIDDLE msrRICT 0F FLORIDA ' " /;_F n__
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a.'!'

CASE NO.:

MICI'IAEL DICKERSON, an individual,
On bchall`ot`himself` and all Others similarly
siluated.

Plaintiff, CLASS ACTI()N

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LABORATORY CORPORATION Ol"`
AMERICA, INC., a Dclaware corporation,
dfb)’a “I-abCorp,” and "LCA Collections,"

Dcl`endant.
f

COMI’LAINT FOR I)AMAGES AND INCIDENTAL RELIEF

l’laintiff, Michael Dicl<erson, an individual, on behalf of himscll`and all othch similarly
situated_. sues Defcndant, Laboratory Corporation OF Amcrica, Inc., a Dc!aware corporation, dfbfa
“LabCorp_." and “LCA Collections,"and alleges:

JURISDICTION

l. 'I`his Courl hasjurisdiction of" this action pursuant to the 'I`elephone Consurner

Proteclion Act (""TCPA"), 4?' U.S.C. §22?.
ALLEG'A TIONS AS TO PARTIES

2. At all times material hercto, Plaintil`l`, Michacl Dickcrson (“Mr. Dickerson”), was

sz:fjm'i.s' and a resident 01` Polk County. Florida.
3. At all times material hercto_. Defendant, lsaboratory Corporation 01` A:ncrica, Inc.,

doingI business as "LabCorp" and "LCA Coilections” (hcreina&er "‘LabCorp"’), was a l)elaware

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Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 2 of 10 Page|D 2

corporation doing business in Polk County, Florida.
FA CTUAL ALLEGA TIONS

4. At some unknown time in the past, Defendant commenced collection activities
with respect to a medical debt (“Third Party Medical Debt”) purportedly owed to LabCorp by a
person having the same or substantially similar name as Mr. Dickerson (“Third Party Debtor”).

5. Mr. Dickerson does not know the Third Party Debtor, does not owe any money to
LabCorp and has no relationship whatsoever with either LabCorp or the Third Party Debtor.

6. Notwithstanding the fact that Mr. Dickerson does not have any relationship
whatsoever with the Third Party Debtor or LabCorp, commencing in August, 2013 through to the
date hereof, Defendant has made repeated telephone calls to Mr. Dickerson on his cellular phone
in an attempt to collect a debt from the Third Party Debtor.

7. Mr. Dickerson has repeatedly informed LabCorp that Mr. Dickerson does
not know who the Third Party Debtor is and has repeatedly asked LabCorp not to call him again.

8. LabCorp refused to stop calling Mr. Dickerson on his cellular phone for a debt
he does not owe.

9. In response to the disclosure of Mr. Dickerson that LabCorp was attempting to
collect from the wrong person, LabCorp acknowledged and confirmed that the Third Party
Debtor was a person other than Mr. Dickerson.

10. Despite knowledge that Mr. Dickerson was a person different from the Third

Party Debtor, LabCorp continued to attempt to collect from Mr. Dickerson using repeated

telephone and written communications

ll. The written communications to Mr. Dickerson consisted of letter(s), known more

-2-

Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 3 of 10 Page|D 3

common in the collection industry as “dunning letters” sent to Mr. Dickerson at his residence in
Polk County, Florida.

12. To the best recollection of Mr. Dickerson, LabCorp made approximately 30 to
40 telephone calls to Mr. Dickerson on his celluar phone without the permission or consent of
Mr. Dickerson.

l3. LabCorp did not have the right to make telephone calls to Mr. Dickerson on his
cellular phone regarding the alleged debt purportedly owed by the Third Party Debtor.

14. LabCorp used an autodialer to place those calls, and frequently placed those calls
multiple times a day.

15. LabCorp used a prerecorded voice message in calls to Mr. Dickerson’s cellular
phone.

16. Mr. Dickerson does not have an “established business relationship” with LabCorp
as that term is defined in 47 U.S.C. § 227(a)(2).

17. Mr. Dickerson does not owe any monies for service by LabCorp.

18. Mr. Dickerson does not owe any money to LabCorp.

19. Mr. Dickerson never gave LabCorp his cellular phone number.

20. Mr. Dickerson never gave LabCorp consent to call his cellular phone.

COUNT I - VIOLATION OF TCPA
(On Beha(f of Class)

21. This is an action for violation of the Telephone Consumer Protection Act
(“TCPA”), 47 U.S.C. §227, which provides for a private cause of action for violations of the

TCPA and regulations promulgated thereunder by the Federal Communications Commission

Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 4 of 10 Page|D 4

(“FCC”), 47 C.F.R., Part 64, Subparts 1200 and 1601.

22. Plaintiff realleges and reaffirms the allegations contained in Paragraphs l through
20 above as it set forth hereat in full.

PRA CTICES 0F LABCORP

23. The automatic telephone dialing system used by LabCorp - referred to throughout
as an "autodialer" - is an "automatic telephone dialing system" as envisioned by 47 U.S.C. § 227.

24. LabCorp falls within the definition of a “person” as defined by 47 U.S.C.
§153(39).

25. LabCorp uses an autodialer and prerecorded messages to contact large numbers of
persons for collection of delinquent accounts.

26. LabCorp places millions of calls per week to collect debts.

27. LabCorp does not use its automated dialer or prerecorded voice calls for
“emergency purposes” as defined by 47 U.S.C. § 227(b)(l)(A)(I).

28. LabCorp regularly calls people who do not have accounts with LabCorp.

29. LabCorp regularly calls people who have not consented to be called by
LabCorp.

30. By information and belief, LabCorp removes thousands, if not tens of thousands,
of telephone numbers per year which are coded as "wrong numbers" and which LabCorp has
called using its automated dialing system.

31. By information and belief, LabCorp does not review the rate of wrong number
calls for compliance with the TCPA.

32. By information and belief, LabCorp’s autodialer and customer service

-4-

Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 5 of 10 Page|D 5

representative have the capacity to identify those individuals with multiple accounts such that a
person who has been wrongly contacted concerning an account which is associated with a
particular phone can be removed from LabCorp’s calling database entirely.

33. As more particularly described above, LabCorp placed non-emergency telephone
calls to Plaintiff's and the class members’ cellular telephones using an automatic telephone
dialing system or pre-recorded or artificial voice without the prior express consent of Plaintiff in
violation of 47 U.S.C. §227(b)(l)(A)(iii).

34. 'I`here is no exception or justification for the numerous violations of the TCPA by
LabCorp.

CLASS ALLEGATIONS

35. Mr. Dickerson brings his individual claim on behalf of himself and a class of all other
persons similarly situated, pursuant to Fed. R. Civ. P. 23.

36. Mr. Dickerson proposes to represent all persons within the United States who

(a) within the four years preceding the filing of this action;

(b) received a non-emergency telephone call from LabCorp;

(c) to a cellular telephone;

(d) through the use of an automatic telephone dialing system or an artificial or

prerecorded voice;

(e) and who did not provide prior express consent for such calls during the transaction

that resulted in the debt owed.

37. The class is so numerous as to make it impracticable tojoin all the disparate members

of the class.

Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 6 of 10 Page|D 6

38. This complaint seeks monetary damages under Fed.R.Civ.P. 23(b)(3).

39. The class claims in this case present common questions of law and fact including
whether:

(a) LabCorp uses an autodialer to collect its debts from Mr. Dickerson and the class
members;

(b) LabCorp uses the automatic telephone dialing system to call the cell phones of
persons who have not consented to the calls;

(c) LabCorp uses prerecorded voice messages in calls to Mr. Dickserson and the class
members;

(d) LabCorp made non-emergency calls to Mr. Dickerson and the class members’ cellular
telephones using an automatic telephone dialing system or an artificial or prerecorded voice;

(e) LabCorp had the prior express consent to make calls to Mr. Dickerson and the class
members’ cellular phones using an automated dialer or prerecorded voice; and

(f) LabCorp’s conduct was knowing and/or willful.

40. The common questions predominate over any question affecting only individual class
members

41. The claims of` Mr. Dickerson are typical of the claims of the class members.

42. Mr. Dickerson bases this action on his individual claims and asserts claims on behalf
of the class upon the same legal and remedial theories as their individual claims.

43. Mr. Dickerson will fairly and adequately protect the interests of all class members in

the prosecution of this action and in the administration of all matters relating to the claims in this

CaSC.

Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 7 of 10 Page|D 7

44. Mr. Dickerson has suffered similar injuries as the members of the classes that he
seeks to represent

45. Mr. Dickerson has retained counsel experienced in handling class action suits
involving unfair business practices and consumer law.

46. Mr. Dickerson nor his counsel have any interest which might cause them not to
vigorously pursue this action.

47. A class action is superior to other available methods for the fair and efficient
adjudication of the controversy.

48. No individual class member could be expected to hold a strong interest in individually
controlling the prosecution of separate claims against LabCorp, because the claim amounts are likely
small and involve statutory damages under the TCPA.

49. Management of these claims will likely present few difficulties because the calls at
issue are all automated and the class members, by definition, did not provide the prior express
consent required under the statute to authorize calls to their cellular telephones.

50. Each call to the cellular phones of Plaintiff and the class members is a separate
violation and entitles Plaintiff and the class members to statutory damages against Labcorp in the
amount of at least Five Hundred Dollars ($500.00) per call pursuant to 47 U.S.C. §227(b)(3).

51. LabCorp willfully and knowingly violated the TCPA and the regulations
promulgated thereunder to the extent that the Court may, in its discretion, increase the amount of
statutory damages to One Thousand Five Hundred Dollars ($1,500.00) pursuant to 47 U.S.C.
§227(b)(3).

WHEREFORE, Plaintiff, Michael Dickerson, individually and on behalf of all others

-7-

Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 8 of 10 Page|D 8

similarly situated, requests that this Court:

A. Certify this matter as a class action;

B Appoint the undersigned attorney as class counsel;

C. Authorize counsel to issue notice to the class members;

D Grant judgment for damages in the amount of $500.00 per call to the class

members, and

E. Treble those damages for LabCorp’s willful violations of the TCPA;

F. Determine the attorney fees for counsel based on a common fund recovery;
and
G. Grant such other and further relief as the Court deems appropriate

COUNT II - ACTION FOR VIOLATION OF THE FLORIDA CONSUMER
COLLECTION PRACTICES ACT(FLORIDA STATUTE §559.55, ET SEQUL)
(AS T 0 MR. DICKERSON, INDIVIDUALLY)

52. This is action for damages for violation of the Florida Consumer Collection Practices
Act (“FCCPA”) brought herein pursuant to the doctrine of pendant jurisdiction.

53. Mr. Dickerson realleges and reaffirms the allegations contained in Paragraphs l
through 20 above as if set forth hereat in hill.

54. At all times material hereto, the Third Party Medical Debt purportedly owed to
LabCorp constituted a “debt” or “consumer debt” as said terms are defined under Florida Statute
§559.55(1).

55. At all times material hereto, Mr. Dickerson was a “debtor” or “consumer debtor” as

said terms are defined under Florida Statute §559.55(2).

56. At all times material hereto, LabCorp was a “creditor” as said term is defined under

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Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 9 of 10 Page|D 9

Florida Statute §559.55(3).

57. As more particularly described above, LabCorp has violated the FCCPA in that
LabCorp;

(a) willfully communicated with Mr. Dickerson With such frequency as can reasonably
be expected to harass Mr. Dickerson or willfully engaged in other conduct which can reasonably be
expected to abuse or harass Mr. Dickerson in contravention of Florida Statute §559.72(7); and

(b) claimed, attempted or threatened to enforce a debt when LabCorp knew that the
debt was not legitimate or asserted the existence of a legal right when such person knows the right
does not exist, in contravention of Florida Statute §559.72(9).

58. As a direct and proximate result of the violation of the FCCPA by LabCorp, Mr.
Dickerson has been damaged. The damages of Mr. Dickerson include but are not necessarily limited
to mental pain and shock, suffering, aggravation, humiliation and embarrassment

59. Mr. Dickerson has retained the undersigned law firm to represent his interest herein
and is obligated to pay said law office a reasonable fee for its services.

60. Pursuant to Florida Statute §559.77, Mr. Dickerson is entitled to recover actual and
punitive damages together with statutory damages of $1,000.00, along with reasonable attomey’s
fees and court costs.

WHEREFORE, Plaintiff, Michael Dickerson, an individual, demands judgment for damages
against Defendant, Laboratory Corporation of America, Inc., a Delaware corporation, d/b/a
“LabCorp,” and “LCA Collections,” for compensatory, statutory and punitive damages, together

with interest, costs and attorneys fees pursuant to Florida Statute §559.77.

‘ Case 8:14-cV-01390-.]S|\/|-TBI\/| Document 1 Filed 06/11/14 Page 10 of 10 Page|D 10

DEMAND FOR JURY TRIAL
Plaintiff, Michael Dickerson, pursuant to Rule 38, Federal Rules ofCivil Procedure, demands

a trial by jury of all issues so triable.

 

 

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-10-

